                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA,

                        v.                                Case No. 1:07-cr-00131 (TNM)

    JAMES BECTON,

                        Defendant.

                                  MEMORANDUM ORDER

        In 2009, James Becton received a 300-month sentence for orchestrating a decade-long

conspiracy to distribute drugs in his neighborhood. See Verdict at 1–3, ECF No. 248; Minute

Entry (Feb. 5, 2009) (sentencing proceedings). In 2021, Judge Ketanji Brown Jackson reduced

his sentence to 246 months to account for a retroactive change in the U.S. Sentencing Guidelines.

See Order, ECF No. 599. Since then, Becton twice sought compassionate release, and the Court

denied both motions. See Order, ECF No. 611; Order, ECF No. 619.

        Now Becton seeks yet another reduction in his sentence—to a sentence of “time served.”

See Def.’s Mot. Reduce Sentence at 1, ECF No. 636. 1 Becton is eligible for such a reduction

because of a Guidelines amendment impacting so-called “status points.” See Amend. 821 (Part

A), U.S.S.C. (eff. Nov. 1, 2023). But the applicable sentencing factors in 18 U.S.C. § 3553(a) do

not warrant a reduction. So the Court denies Becton’s motion.

                                                I.

        Before his arrest, Becton spent over ten years organizing and leading a criminal

conspiracy to distribute drugs in Southeast Washington, D.C. See United States v. Becton, No.


1
  Becton also filed a pro se motion seeking early release. See Mot. for Compassionate Release,
ECF No. 629. But that motion raises materially identical arguments to those raised in the motion
Becton filed through counsel. So this Order resolves both motions, but primarily engages with
the one he filed through counsel.
07-cr-00131 (TNM), 2021 WL 6621166, at *1 (D.D.C. Dec. 16, 2021) (“Becton I”). He served

as the exclusive wholesaler for powder and crack cocaine to street level dealers in his

neighborhood. Id. He controlled his turf through a combination of threats and violence. Id. In

2009, Judge Robertson sentenced Becton to 300 months’ incarceration and 120 months of

supervised release. Id.
       In 2020, Becton moved to reduce his sentence under 18 U.S.C. § 3582(c)(2) based on a

change in the Sentencing Guidelines. Id. Judge Jackson granted his motion and reduced his

term of imprisonment to 246 months. Id. Without factoring in good-time credits, Becton will

complete this sentence in November 2025. But Becton has tried multiple times to accelerate his

release date. Since his 2020 sentencing reduction, he filed two motions for compassionate

release. This Court denied both motions. See Becton I, 2021 WL 6621166, at *4; United States

v. Becton, No. 07-cr-00131 (TNM), 2023 WL 1100708, at *6 (D.D.C. Jan. 30, 2023) (“Becton

II”). Now Becton asks for a sentence of “time served” based on a recent and retroactive change

to the Guidelines. Def.’s Mot. at 1. That motion is ripe.

                                                II.

       Last year, the U.S. Sentencing Commission promulgated Amendment 821, which

changes how “status points” affect criminal history calculations. See Amend. 821 (Part A),

U.S.S.C. (eff. Nov. 1, 2023). Under that amendment, the Guidelines no longer add two “status

points” to an offender’s criminal history score for “committ[ing] the instant offense while under

any criminal justice sentence.” Id. Now, offenders like Becton, who have more than six

criminal history points, receive only a single status point. See U.S.S.G. § 4A1.1, application note

5.




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       Becton says this single point makes a difference. It leaves him with only nine criminal

history points, which places him in Criminal History Category IV instead of V. Paired with his

total offense level of 34, Becton’s advisory sentencing range becomes 210 to 262 months instead

of 235 to 293 months. U.S.S.G. Ch. 5 Pt. A (Sentencing Table). Because this change to the

Guidelines happened after Becton was sentenced, the Court has discretion to reduce his sentence.

See 18 U.S.C. § 3582(c)(2). Any reduction must satisfy the Commission’s “applicable policy

statements” and account for any applicable factors in 18 U.S.C. § 3553(a). Id.
       Evaluating a sentencing reduction under § 3582(c)(2) boils down to a two-step process.

See Dillon v. United States, 560 U.S. 817, 826 (2010). At step one, the Court must examine if

Becton is eligible for a reduction. Id. at 827. And it does so by assessing whether Becton’s

original sentence was based on a guideline range that has since been lowered by the Sentencing

Commission through a retroactive Amendment to the Guidelines. Id. The Court must determine

what the Guideline range would have been had the amendment been in effect when Becton was

originally sentenced. Id. The Court also may not reduce his sentence below the new Guideline

minimum. Id.
       If Becton qualifies, the Court moves to step two, where it must consider the relevant

§ 3553(a) factors and determine whether the particular circumstances of this case justify a

reduction. Id. The choice to reduce a sentence at step two rests within the Court’s sole

discretion. See 18 U.S.C. § 3582(c)(2) (stating courts “may reduce the term of imprisonment”

(emphasis added)); see also United States v. Vautier, 144 F.3d 756, 760 (11th Cir. 1998) (stating

this grant of authority “is unambiguously discretionary”).




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                                                 III.

       Start with step one. As both parties recognize, Becton is eligible for—but not entitled

to—a sentencing reduction under Amendment 821. See Def.’s Mot. at 7–8; Gov’t Opp’n at 7–8,

ECF No. 637. Becton received two status points when he was originally sentenced. See

Sentencing Tr. at 4:22–5:2, ECF No. 347. Under the Amendment, however, he would have

received only one point. That makes Becton eligible for a reduction. See U.S.S.G. § 1B1.10.

       Now for step two. For the third time in three years, the Court concludes that none of the

relevant § 3553(a) factors favor Becton’s early release. See Becton I, 2021 WL 6621166, at *3–

4; Becton II, 2023 WL 1100708, at *5–6. Three factors are particularly applicable: the “nature

and circumstances of the offense and the history and characteristics of the defendant,” the need

for specific deterrence, and the need to protect the public. 18 U.S.C. § 3553(a)(1), (a)(2)(B), and

(a)(2)(C); see also id. § 3582(c)(2) (stating courts must only consider the “applicable” § 3553(a)

factors). None favor early release.

       First, Becton committed serious offenses that reflect his propensity for unlawful

behavior. See 18 U.S.C. § 3553(a)(1) and (a)(2)(A). A jury found him guilty of leading a

violent drug-trafficking ring in his own neighborhood. See Verdict at 1–5. As Judge Robertson

put it at sentencing, he “spread[] poison among [his] community.” Sentencing Tr. at 17:24. And

the underlying offenses here were simply a capstone to Becton’s criminal career. He had

previously been convicted of several drug- and gun-related felonies, see Presentence Report at

17–19, ECF No. 313, leading Judge Robertson to conclude that Becton “clearly never did

anything with his life except deal drugs,” Sentencing Tr. at 17:8–9.

       Second, Becton needs a 246-month sentence to deter him from future criminal conduct.

See 18 U.S.C. § 3553(a)(2)(B). His unlawful conduct here followed two prison terms for drug-



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related offenses. See Sentencing Tr. 17:9–10. Apparently, those prior, lighter terms of

imprisonment did not teach him “right from wrong.” Id. at 17:10. In fact, Becton

“unbelievably” smuggled “drugs in and out of a federal prison” before his sentencing here. Id. at

17:10–12. After surveying Becton’s conduct, Judge Robertson concluded that he “has done

nothing to demonstrate that he is entitled to any leniency from the Court.” Id. at 17:13–14.

       Third, Becton needs to serve the rest of his 246-month sentence to protect the public. See

18 U.S.C. § 3553(a)(2)(C). At sentencing, Judge Robertson specifically found that Becton posed

“a threat to the community” and needed to “be removed from the community” for a lengthy

period. Sentencing Tr. 17:22–18:2. This finding continues to carry force given Becton’s

disciplinary rap sheet. Since he was initially incarcerated, he has racked up 18 infractions. See

Disciplinary Records at 15–20, ECF No. 636-1. And, incredibly, four of these infractions

happened after Judge Jackson gave him a break on his original 300-month sentence. See

Disciplinary Records at 15–16. He fought with another person, possessed a hazardous tool,

possessed drugs or alcohol, and received a citation for disruptive conduct. See id.
       Becton argues that these infractions deserve little weight. He describes one of them as

“bogus,” saying that prisoners have “minimal due process rights” in disciplinary proceedings.

Def.’s Mot. at 9–10. And he asserts that he would not “pose a danger to the community if his

sentence was reduced.” Id. The Court disagrees. These infractions are not one-off occurrences;

they reflect a continuous pattern of defiant behavior and disrespect for the rule of law.

       Amendment 821 does not change the Court’s calculus. Becton correctly notes that a

sentence of “time served” (or 220 months) would fit within the new advisory range of 210 to 262

months. See Def.’s Mot. at 7. But his current 246-month sentence also fits within that range,




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just as it did the old one. And nothing entitles Becton to a “proportional sentence reduction”

consistent with his newly reduced advisory range. Id. at 8.

          True, the “Guidelines provide the starting point and the initial benchmark” for federal

sentences, but they “are not the only consideration.” United States v. Jones, 846 F.3d 366, 372

(D.C. Cir. 2017) (cleaned up). The Court emphasizes that the driving considerations behind

Becton’s current sentence—the applicable § 3553(a) factors outlined above—remain unchanged.

The Court is still firmly convinced that “that nothing less than” Becton’s already-reduced 246-

month sentence “would be enough.” Id. That sentence fits comfortably within his preferred

Guideline range, further counseling against any additional reduction.

                                                  IV.

          Becton’s original sentence carefully reflected the applicable § 3553(a) factors. After

Judge Jackson reduced that sentence by several years, he accrued new disciplinary infractions.

Nothing in § 3553(a) warrants a further reduction. In sum, Becton has not “demonstrate[d] that

he is entitled to any [further] leniency from the Court.” Sentencing Tr. at 17:13–14.

          For these reasons, it is hereby

          ORDERED that Defendant’s [636] Motion to Reduce Sentence is DENIED, and it is

further

          ORDERED that Defendant’s [629] Motion for Compassionate Release is DENIED.

          SO ORDERED.



                                                                            2024.08.26
                                                                            14:15:35 -04'00'
          Dated: August 26, 2024                        TREVOR N. McFADDEN, U.S.D.J.




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